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      ORDERED in the Southern District of Florida on June 28, 2018.




                                                      Laurel M. Isicoff
                                                      Chief United States Bankruptcy Judge

                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  Miami Division
_____________________________________________________________________________

       Maurice Symonette                                      CASE NO. 18-15891-BKC-LMI

                  Debtor(s).                                  Chapter 7
       ________________________________/

               AMENDED ORDER SPECIALLY SETTING EVIDENTIARY HEARING
                         (Amended to Correct the Time of the Hearing)

             The Court having determined that it is appropriate to set the Emergency Motion for

      Violation of Bankruptcy Stay (DE #20) for an evidentiary hearing and to schedule deadlines in

      order to expedite and facilitate such hearing upon this matter, it is hereby,

             ORDERED AND ADJUDGED as follows:

             1.      The Emergency Motion for Violation of Bankruptcy Stay (DE #20) has been

      scheduled for Final Evidentiary Hearing on August 8, 2018 at 3:00 p.m. at the C. Clyde Atkins

      Building, United States Bankruptcy Court, 301 North Miami Avenue, Courtroom 8, Miami,

      Florida, solely on the following issues:

                     a.      Whether the Creditor had notice of the bankruptcy;



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               b.      Whether the Creditor is liable for damages for the actions of the sheriff

who sought to evict the Debtor and his possessions; and

               c.      Whether the Debtor suffered any damages due to the violation of the

automatic stay.

       No continuances will be granted for any reason on this matter absent compelling,

unforeseen circumstances.

       2.      All discovery shall be completed no later than July 27, 2018.

       3.      The time for responding to interrogatories, requests for admission or requests for

production is shortened to fourteen (14) days from service of the discovery.

       4.      On or before noon on August 1, 2018 each side shall deliver to the opposing party

(BUT DO NOT DELIVER TO CHAMBERS OR FILE) a set of pre-marked exhibits intended to

be offered as evidence at the evidentiary hearing. The exhibits shall be bound in one or more

notebooks, with tabs marking each exhibit, with the exhibit list CONFORMING TO LOCAL

FORM 49 (see attached). Absent compelling circumstances, the Court will not consider

exhibits or the testimony of any witnesses not listed on a timely witness list or Exhibit List.

       5.      On or before noon on August 6, 2018 each side shall submit to chambers by e-

mail at LMI_chambers@flsb.uscourts.gov and opposing counsel by fax or e-mail, the following:

               (a)     The exhibit list conforming to local form 49, identifying each exhibit

intended to be offered as evidence at the hearing. The actual exhibits should not be attached to

the Court’s email. Movants and/or Plaintiffs shall mark their exhibits numerically. Respondents

and/or Defendants shall mark their exhibits alphabetically;

               (b)     A witness list that includes a brief statement summarizing the testimony

each witness is expected to present;

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               (c)    Any written opening statement the party wishes the Court to read before

the hearing begins. Oral opening statements will normally not be permitted.

               (d)    Self-represented parties may bring a hard copy of these documents to

chambers if they do not have access to email.

       6.      On the day of trial the parties shall, in addition to the original exhibit binder for

the Court, also bring an exhibit binder for the law clerk and one exhibit binder for the witness

box.

       7.      COMPLIANCE WITH FEDERAL JUDICIARY PRIVACY POLICY. All

papers, including exhibits, submitted to the court must comply with the federal judiciary privacy

policy as referenced under Local Rule 5005-1(A)(2).

       8.      SANCTIONS. Failure to appear at the evidentiary hearing or to comply with any

provision of this order may result in appropriate sanctions, including the award of attorneys’

fees, striking of papers, exclusion of exhibits or witnesses, or the granting or denial of the

Motion.

       9.      Continuances of the evidentiary hearing or any deadlines set forth in this order

must be requested by written motion. Any request for continuance or amendment to this order

shall set forth the status of discovery and shall state the reasons why the party or parties seek a

continuance.

       10.     ALL REQUIRED DOCUMENTS MUST BE FILED AND EXCHANGED

IN ACCORDANCE WITH THE DEADLINES SET FORTH IN THIS ORDER.

                                                ###




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Copies furnished to:


       The Clerk of Court shall serve a copy of this order upon all parties.




(Rev. 3-2018)

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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                                 www.flsb.uscourts.gov

In re:                                                          Case No.
                                                                Chapter


                                    /


         Plaintiff                                              Adv. No.

            vs.


         Defendant
                                    /

                                             EXHIBIT REGISTER

Exhibits Submitted on behalf of:

[   ] Plaintiff         [   ] Defendant      [     ] Debtor              [   ] Other

Date of Hearing/Trial:

Type of Hearing/Trial:

SUBMITTED BY:




                     (Tel.)


Exhibit Number/Letter          Description             Admitted          Refused       Not Introduced




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Exhibit Register Continuation Page

Exhibit Number/Letter                Description        Admitted        Refused        Not Introduced




LF-49 (rev. 12/01/09)
